     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 1 of 13   1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    RIO TINTO PLC,

4                       Plaintiff,

5                 v.                              14 Civ. 3042 (RMB)

6    VALE, S.A., et al.,
                                                  Conference
7                       Defendants.

8    ------------------------------x

9                                                 New York, N.Y.
                                                  September 8, 2014
10                                                2:00 p.m.

11   Before:

12             HON. ANDREW J. PECK

13                                                Magistrate Judge

14

15
               APPEARANCES
16

17   QUINN EMANUEL URQUHART & SULLIVAN LLP
          Attorneys for Plaintiffs
18   BY: ERIC C. LYTTLE
          MICHAEL J. LYLE
19

20   CLEARY GOTTLIEB STEEN & HAMILTON LLP
          Attorneys for Defendant Vale
21   BY: LEWIS J. LIMAN
          JONATHAN I. BLACKMAN
22

23   MISHCON DE REYA NEW YORK LLP
          Attorneys for Defendants BSG Resources and Steinmetz
24   BY: ELIZABETH ROTENBERG-SCHWARTZ
          KAVITHA SIVASHANKER
25        VINCENT FILARDO

                       SOUTHERN DISTRICT REPORTERS, P.C.
                                (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 2 of 13   2

1              APPEARANCES

2
     MARTIN J. AUERBACH
3         Attorney for Defendants BSGR Guinea Ltd. BVI and BSG
          Resources Guinee SARL
4

5    SHER TREMONTE LLP
          Attorneys for Defendants BSGR Guinea Ltd. BVI and BSG
6         Resources Guinee SARL
     BY: MICHAEL TREMONTE
7

8    SULLIVAN & WORCESTER LLP
          Attorneys for Defendant Thiam
9    BY: PAUL E. SUMMIT

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 3 of 13    3

1              (Case called)

2              THE COURT:    I didn't get any letters in advance from

3    any of you, which I take it is a good sign.         Mr. Liman is

4    trying to stand first.     Go ahead.

5              MR. LIMAN:    Your Honor, I can give you a report on

6    where things stand.     The bottom line, after having talked to

7    the plaintiffs, is that we don't at this moment have any issues

8    for your Honor's consideration.

9              If you recall, we were last before your Honor on July

10   29th.   At that point the Court set a number of deadlines.           It

11   ordered the parties by August 11th to make a joint submission

12   of the proposed protective order and ESI protocol.          Plaintiff

13   was to serve its jurisdiction requests on Steinmetz and BSGR by

14   August 5, with responses and objections due September 3rd.

15   Defendants were to serve responses and objections to Rio Tinto

16   discovery requests by December 3rd, same thing for forum non

17   conveniens motion, and the parties were to begin to meet and

18   confer.

19             The bottom line is the parties have done as the Court

20   directed, and we continue to make good progress.         We submitted,

21   as your Honor is aware, a proposed protective order and ESI

22   protocol on August 11th.      The Court so ordered that on August

23   12th after ruling on the parties' disagreements.

24             On August 5th Rio Tinto served defendants Steinmetz

25   and BSGR with jurisdictional discovery requests.         Rio Tinto

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 4 of 13   4

1    filed its amended complaint on August 15th.         The defendants

2    filed their motion on forum non conveniens grounds last

3    Wednesday.    We provided a courtesy copy to your Honor of that

4    filing.

5              THE COURT:    I got it.

6              MR. LIMAN:    The same day each defendant that had been

7    served with a discovery request served their responses and

8    objections.    In addition, defendants BSGR and Steinmetz served

9    amended initial disclosures.      Notably, these amended initial

10   disclosures identified 83 witnesses, not one of whom is inside

11   the United States.     Each party has identified the burden of the

12   discovery requests and can speak to that.

13             With respect to Vale, we indicated our preliminary

14   view that just a couple of the discovery requests would entail

15   search and review of ESI, including many millions of emails

16   from seven offices in four countries, not one of which was in

17   the United States and one of which was in China.         Other

18   defendants have similar burdens, which they can address if your

19   Honor was interested.

20             THE COURT:    I always have academic interest.       But

21   realistic interest is after there has been a meet-and-confer

22   and the parties are fully ready to get rulings on the issues.

23   Merely telling me it is burdensome in advance, by the time we

24   get to the next hearing, at which you will have had your

25   meetings and conferrings, etc., we will have to go through

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 5 of 13     5

1    either all of it again or the parties will have narrowed

2    things.

3               Again, if any side thinks they have gone through the

4    meet-and-confer and is ready to tee issues up, I've got the

5    time to deal with it.     If not, I understand there may be

6    issues, but it is incumbent under the rules for the parties to

7    work things out as much as they can and then be ready the deal

8    with me.

9               MR. LIMAN:   To that end, your Honor, we would note

10   that Vale, but not any of the other defendants yet, has served

11   document requests and interrogatories directed at Rio at this

12   point.    Those are answerable by October 3.      We will tell your

13   Honor that we served those requests out of an abundance of

14   caution given the fact that your Honor has not yet stayed

15   discovery.

16              It is our view that discovery should be stayed in this

17   action.    We didn't want to be put between a rock and a hard

18   place, giving up our rights to discovery, but we also don't

19   intend by serving that discovery to be suggesting in any way a

20   view that discovery is appropriate under U.S. law.          It would be

21   our view at the appropriate time, which may be soon, to seek

22   the Court's assistance with respect to a stay.

23              Finally, with respect to that, we have begun the

24   process of meeting and conferring with plaintiffs.          We had a

25   meet-and-confer late last week, and we are trying to schedule

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 6 of 13    6

1    meet-and-confers.

2              THE COURT:    Thank you.    Since we started on the

3    defense table, let me hear from the other defendants, and then

4    we will flip over to the plaintiffs' table.         Anyone have

5    anything to add or anything else?       If you are going to just say

6    me too or Mr. Liman got it correct in terms of chronology, you

7    can do this so you get credit on the transcript.         Silence will

8    be assumed as agreeing, at least on the defense side of the

9    table.

10             MR. FILARDO:    Good afternoon, your Honor.       Vincent

11   Filardo of Mishcon de Reya New York for defendants BSG

12   Resources Limited and Benjamin Steinmetz.        In short, we do

13   agree with the recitation of what has occurred to date that Mr.

14   Liman has provided.

15             When we were last before your Honor, we did discuss a

16   briefing schedule in short for a stay and that when we returned

17   today we would discuss that further.        That is something that we

18   are interested in taking up today with your Honor.

19             THE COURT:    Is that based on the personal jurisdiction

20   question or something else?

21             MR. FILARDO:    It is based currently on the strength of

22   our pending forum non conveniens motion along with the burden

23   to respond and the fact that for BSG Resources and Benjamin

24   Steinmetz, we are currently subject only to limited

25   jurisdictional discovery.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 7 of 13   7

1              While we believe that discovery in this matter should

2    be stayed, and much of it would be irrelevant even on the

3    merits if the forum non conveniens motion were granted, it

4    certainly would be irrelevant with respect to our client,

5    considering that we are not contesting jurisdiction in England,

6    which is the alternative forum that we propose.         Certainly, any

7    discussion that was produced or searched for and worked on with

8    respect to jurisdiction in New York would be totally irrelevant

9    if the forum non conveniens motion were granted.

10             THE COURT:    Thank you.

11             MR. FILARDO:    Thank you, your Honor.

12             MR. SUMMIT:    If I may, your Honor.      Paul Summit of

13   Sullivan & Worcester, nice to see you again, for Mahmoud Thiam,

14   the only individual who has appeared in this matter.          We do not

15   have a jurisdictional objection here but have joined in the

16   forum non conveniens motion.      We believe it is an extremely

17   strong motion, and we believe it is timely to brief the issue

18   of a stay of discovery.     We would join in a request for a

19   briefing schedule on the stay of discovery.

20             THE COURT:    Fine.   And on plaintiffs' side?

21             MR. LYLE:    Good afternoon, your Honor.      Michael Lyle

22   on behalf of the plaintiff Rio Tinto along with my colleague

23   Eric Lyttle.    The only thing I would add with respect to where

24   we stand, your Honor, is that our response to the motion for

25   dismissal on forum non conveniens grounds is due on September

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 8 of 13   8

1    17th.   We will be filing a response to the motion, including a

2    declaration from our own expert, also a former lawyer, as it

3    relates to English law for purposes of the Court's

4    consideration on the motion.

5               Your Honor, we have a completely different view of the

6    forum non conveniens from the defendants' view, as you may

7    imagine.    We intend to lay out the basis for that in our

8    written submission.     Before we take up the issue of any stay

9    with respect to discovery, we would request an opportunity the

10   have the Court have the benefit of having reviewed not only

11   their submission but our response to their submission to the

12   extent you are going to use that as a basis for considering any

13   motion to stay discovery.

14              The other thing we would add is that we have had an

15   initial meet-and-confer discussion with Mr. Liman.          He is

16   correct, we have made progress.       We expect that we will

17   continue to make progress.      We will need to discuss responses

18   from the other defendants as well, and we will be engaging in

19   that going forward.     If we have any issues that we aren't able

20   to resolve independently, we will of course come to your Honor

21   for assistance in resolving those sues.

22              THE COURT:   All right.    After your papers on the 17th,

23   when is the defendants' reply brief?

24              MR. FILARDO:   September 24th, I believe, your Honor.

25              THE COURT:   I don't know what schedule you had in

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 9 of 13   9

1    mind.    I suspect that Mr. Lyle is correct that I will be in a

2    better position to rule on the motion after it's fully briefed,

3    certainly even better after Judge Berman has decided the

4    motion.    If that is the principal grounds of your motion, if

5    you lose, then obviously that takes care of that.          I know there

6    is also the forthcoming one of these days a motion to dismiss

7    substantively, but that is further down the road.

8               What is it you all had in mind?      As you can hear, I'm

9    inclined to say it should not be briefed until after at least

10   September 17th, if not the 24th.

11              MR. LIMAN:    May we confer for a moment?

12              THE COURT:    Sure.

13              (Pause)

14              MR. LIMAN:    We have had a lot of back and forth, your

15   Honor.    Subject to your Honor's approval, of course, we would

16   like to make the motion ten days after September 24th.

17   September 24th is the date by which the motion will be fully

18   submitted.    And it will be ten calendar days.

19              THE COURT:    That hits a weekend.    That would be on

20   October 6th.

21              MR. LIMAN:    Thank you.

22              THE COURT:    Response time?

23              MR. LYLE:    Your Honor, if we may, perhaps it would

24   make sense for us to have the briefing completed and then

25   appear before your Honor at a status conference for purposes of

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 10 of 13   10

1    determining whether you want to take up any such motion to stay

2    after you have had everything, as opposed to entering a

3    briefing schedule on the motion that may not, in your Honor's

4    view --

5              THE COURT:    One, as you all know, while we judges can

6    impose pre-motion conference requirements, the circuit is quite

7    clear we can't technically stop anyone from filing a motion.

8    But we don't have to deal with the motion for ages.

9              If we were to do that, and we have some Jewish

10   holidays hitting right around there, if the motion is going to

11   get briefed or made by the 6th, I would have to see the parties

12   shortly after the 24th, which because of Rosh Hashanah probably

13   means Monday the 29th or as soon thereafter as you are all

14   available.

15             I have no problem giving you a conference date for

16   Monday morning the 29th if you want to do that, with the

17   expectation that I would possibly allow the motion to go

18   forward on the 6th, depending.       Mr. Liman, what are your

19   thoughts?

20             MR. LIMAN:    Your Honor, I think we have seen your

21   Honor enough on this issue.       Your Honor has expressed your

22   views in terms of what you expect.        I think the most productive

23   use of all the lawyers' time would be to have the meet-and-

24   confers and then to make the motion on October 6th.

25             THE COURT:    All right.    Let's put it this way.      After

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 11 of 13   11

1    I read the op papers, if I decide there is no need for the

2    motion or that I would suggest to the plaintiff not opposing

3    the motion, which are the two flips of that, at least for a

4    temporary stay, I can always do that by calling you in or

5    otherwise dealing with it.

6              Assuming the motion gets made October 6th, what is

7    your pleasure, Mr. Lyle, on the time?        Traditional two weeks,

8    more or less?

9              MR. LYLE:    Two weeks would be fine.

10             THE COURT:    October 20.    Reply October 27.

11             MR. LIMAN:    Sure.

12             THE COURT:    OK.   Is there anything in the forthcoming

13   motion to stay or the planned opposition to a motion that

14   hasn't been made yet but you all know what you are going to say

15   that in any way needs discovery?       I think the answer is no, but

16   I don't want to get in a circular thing where there are some

17   facts alleged in the motion for a stay and the plaintiff says,

18   we contest that or we don't know anything about it and want to

19   explore it.

20             MR. FILARDO:     No, your Honor, we don't believe there

21   would be anything on the motion to stay.

22             THE COURT:    On the plaintiffs' side, Mr. Lyle?

23             MR. LYLE:    At this time, your Honor, we don't foresee

24   that.   If we see the motion and something comes up, we would

25   reserve our rights to seek relief with your Honor.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 12 of 13   12

1               THE COURT:    All right.   Since one of the things I do

2    like to do, even though money seems no object to anybody in

3    this case, is save the clients some money.         I think you have

4    heard enough from the defense as to what their grounds for the

5    motion are going to be, which is that they think they've got a

6    very good either forum non related motion or on the merits.

7    I'm not going to look kindly on you letting them spend their

8    time putting the arguments they have already made to Judge

9    Berman and me into another pretty little package with a bow and

10   then say let's hold the whole thing off because.

11              As to the discovery matters, discovery is not stayed

12   until the motion is made and granted, if it is going to be

13   granted.    What do you want to do about the next discovery slash

14   status conference?      In other words, when do you think you will

15   have finished your meet-and-confer, since you are ostensibly on

16   a November 28th cutoff date from Judge Berman?          As I said

17   before, I recognize that that date has no reality behind it.

18   Nevertheless, sooner rather than later to get things keyed up.

19              MR. LIMAN:    Your Honor, we thought maybe four weeks

20   from today.

21              MR. LYLE:    For the plaintiff, your Honor, that seems

22   reasonable to us as well.

23              THE COURT:    Tuesday, October 7, at 2 o'clock.       Does

24   that work for everyone?

25              MR. LIMAN:    That would be fine, your Honor.

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
     E98rrioc
     Case 1:14-cv-03042-RMB-AJP Document 86 Filed 09/17/14 Page 13 of 13   13

1               MR. LYLE:    Thank you, your Honor.

2               MR. FILARDO:    Thank you, your Honor.

3               THE COURT:    Give me a hopefully joint agenda letter

4    two business days in advance.       The 7th is a Tuesday, so Friday

5    the prior week an agenda letter with your disputes.          You can

6    skip the attachments and just bring them with you, but just

7    enough so I know what you are doing.        If you think the

8    attachments will be helpful, fine, but keep the thickness to a

9    minimum.

10              Anything else?

11              MR. LIMAN:    No, your Honor, thank you.

12              MR. LYLE:    Nothing for the plaintiff.

13              THE COURT:    Usual drill.    You all will make your

14   respective arrangements with the court reporter.

15              Just one other question.      I have an appearance card

16   here from Michael Tremonte.

17              MR. TREMONTE:    Yes, your Honor.

18              THE COURT:    Who are you and who do you represent?        I

19   don't have you on my sheet.

20              MR. TREMONTE:    The names are so long that I wrote them

21   down, your Honor.      It is the two defendants that have long

22   names with a/k/a's.

23              MR. AUERBACH:    He is my co-counsel.

24              THE COURT:    That's good.    Thank you all.

25              (Adjourned)

                      SOUTHERN DISTRICT REPORTERS, P.C.
                               (212) 805-0300
